Case 1:19-cv-00347-DDD-STV Document 1 Filed 02/11/19 USDC Colorado Page 1 of 15




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

                      1:19-cv-00347
  Civil Action No. ______________________

  PAUL M. GEORGOPULOS,

          Plaintiff,

  v.

  PPM CAPITAL, INC.,

          Defendant.


                                             COMPLAINT


         NOW COMES Paul M. Georgopulos (“Plaintiff”), by and through his attorneys, Sulaiman

  Law Group, Ltd., complaining as to the conduct of PPM Capital, Inc. (“Defendant”) as follows:

                                        NATURE OF THE ACTION

       1. Plaintiffs bring this action against Defendant seeking redress for violations of the Fair Debt

  Collection Practices Act (“FDCPA”) pursuant to 15 U.S.C. §1692, violations of the Telephone

  Consumer Protection Act (“TCPA”) pursuant to 47 U.S.C. §227, and violations of the Colorado

  Fair Debt Collection Practices Act (“CFDCPA”) pursuant to CO Rev. Stat. § 5-16-101.

                                       JURISDICTION AND VENUE

       2. Subject matter jurisdiction is conferred upon this Court by the FDCPA, TCPA and 28

  U.S.C. §§1331 and 1337, as the action arises under the laws of the United States. Supplemental

  jurisdiction exists for the state law claim pursuant to 28 U.S.C. §1367.

       3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant maintains

  significant business contacts in the District of Colorado, Plaintiff resides in the District of

                                                    1
Case 1:19-cv-00347-DDD-STV Document 1 Filed 02/11/19 USDC Colorado Page 2 of 15




  Colorado, and a substantial portion of the events or omissions giving rise to the claims occurred

  within the District of Colorado.

                                               PARTIES

     4. Plaintiff is a Colorado resident and natural person over 18-years-of-age who is a

  “consumer” as the term is defined by 15 U.S.C §1692a(3), and is a “person” as defined by 47

  U.S.C. §153(39).

     5. Defendant’s principal purpose of business is the collection of delinquent debts and it

  regularly collects debts and uses the mail and/or telephones to collect delinquent accounts

  allegedly owed to a third party. Defendant’s principle office is located at 31 Shepard Ave. Buffalo,

  New York 14217.

                                  FACTS SUPPORTING CAUSE OF ACTION

     6. In 2016, Plaintiff obtained an Ace Cash loan for $200.00 (“subject debt”). Due to

  unforeseeable circumstances, Plaintiff was unable to keep up with the payments on the subject

  debt causing Plaintiff to default.

     7. On December 5, 2018, Defendant acquired the right to collect and/or attempt to collect on

  the subject debt while it was in default.

     8. In December 2018, Defendant began placing calls to Plaintiff’s cellular telephone number

  (720) XXX-8745, Plaintiff’s fiancé’s cellular telephone, and Plaintiff’s fiancé’s daughter’s cellular

  telephone.

     9. At all times relevant, Plaintiff was the sole subscriber, owner, possessor, and operator of

  his cellular telephone number. Plaintiff is and has always been financially responsible for this

  cellular telephone and its services ending in 8745.


                                                   2
Case 1:19-cv-00347-DDD-STV Document 1 Filed 02/11/19 USDC Colorado Page 3 of 15




     10. Immediately after the calls began, Plaintiff’s fiancé answered a call from Defendant. In

  that call, Defendant disclosed that it was looking for Plaintiff and that he owes the subject debt.

     11. Subsequently thereafter, Defendant placed or caused to be placed a phone call to Plaintiff’s

  fiancé’s daughter’s cellular telephone. In that call, Defendant’s representative left a voice mail

  message falsely stating that it is a compliance officer and that it would be sending a uniformed

  officer to either Plaintiff’s home or place of employment in order to serve him with paperwork for

  a lawsuit filed against him in connection to the subject debt.

     12. Defendant also sent Plaintiff the same voice mail message referred to above.

     13. After Plaintiff received the first voice mail message from Defendant, Defendant began

  placing harassing and high volume calls to Plaintiff’s cellular telephone.

     14. Shortly after the harassing calls began, Plaintiff called Defendant. In that call, Defendant’s

  representative demanded that Plaintiff satisfy the subject debt or Plaintiff will face criminal

  charges for “defrauding a financial institution.” Defendant’s threat to Plaintiff was unfair, false,

  and misleading. Defendant did not intend to file criminal charges against Plaintiff, nor could it file

  criminal charges against Plaintiff. Furthermore, Defendant instructed Plaintiff to purchase a pre-

  paid card and deposit $100.00 in the pre-paid card every other week in order to satisfy the subject

  debt through a payment plan.

     15. Plaintiff set-up a payment plan with Defendant and followed Defendant’s instructions to

  purchase a pre-paid card, because he feared that Defendant would proceed to carry out a criminal

  lawsuit against him. Plaintiff made two payments, under false pretenses to Defendant. Plaintiff

  made two payment of $105.00 to Defendant.




                                                    3
Case 1:19-cv-00347-DDD-STV Document 1 Filed 02/11/19 USDC Colorado Page 4 of 15




     16. One day prior to each payment, Defendant would cascade Plaintiff with phone calls and

  text messages to his cellular phone conveying that Plaintiff is breaching his payment contract by

  making late payments.

     17. On January 30, 2019, Plaintiff called Defendant to request if he could make reduced

  payments on the subject debt as he was no longer financially able to make the agreed upon

  payments. In that call, Defendant’s representative falsely communicating that it could not change

  the payment agreement with Plaintiff because it is a binding contract. Plaintiff then demanded that

  Defendant cease calling him.

     18. Despite Plaintiff demands that Defendant cease contacting him, Defendant continued its

  harassing phone calls and text messages to Plaintiff’s cellular telephone.

     19. On February 2, 2019, Defendant called Plaintiff 9 times in the span of five minutes, from

  7:20 a.m. to 7:25 a.m. in order to annoy Plaintiff into making a payment on the subject debt.

  Defendant’s conduct was unconscionable and harassing.

     20. Furthermore, when Plaintiff called Defendant again in order to demand that it cease

  harassing him a representative of Defendant called Plaintiff a “piece of shit.” Defendant used such

  vulgar and disgusting language in order to belittle Plaintiff.

     21. Plaintiff’s demands that Defendant’s phone calls cease fell on deaf ears and Defendant

  continued its phone harassment campaign.

     22. Defendant placed or caused to be placed numerous harassing phone calls to Plaintiff’s

  cellular telephone from December 2018 through the present day, with calls taking place several

  times in one day, up to 9 times per day, and on back to back days.




                                                    4
Case 1:19-cv-00347-DDD-STV Document 1 Filed 02/11/19 USDC Colorado Page 5 of 15




      23. Plaintiff called his local Police Department and filed a harassment report due to

  Defendant’s outrageous call and text volume.

      24. Plaintiff never provided his cellular telephone number to Defendant or otherwise expressly

  consented to Defendant’s phone calls.

      25. Moreover, in the phone calls Plaintiff answered, Plaintiff was greeted by a noticeable

  period of ‘dead air” while Defendant’s telephone system attempted to connect Plaintiff to a live

  agent.

      26. Specifically, there would be an approximate 3 second pause between the time Plaintiff said

  “hello,” and the time that a live agent introduced them self as a representative of Defendant

  attempting to collect on the subject debt.

      27. Likewise, Plaintiff also hears what sounds to be call center noise in the background of

  Defendant’s collection calls.

      28. Upon information and belief, Defendant placed its calls to Plaintiff’s cellular telephone

  number using an automated telephone dialing system that is commonly used in the debt collection

  industry to collect defaulted debts.

      29. The phone number that Defendant most often used to contact Plaintiff was, (719) 280-

  0596, but upon information and belief, Defendant may have used other phone numbers to place

  calls to Plaintiff’s cellular phone.

      30. Moreover, at no time did Defendant send Plaintiff any correspondences notifying him of

  his rights pursuant to 15 U.S.C. §1692g.




                                                  5
Case 1:19-cv-00347-DDD-STV Document 1 Filed 02/11/19 USDC Colorado Page 6 of 15




                                                 DAMAGES

     31. Defendant’s harassing phone calls have severely disrupted Plaintiff’s daily life and general

  well-being.

     32. Plaintiff has expended time consulting with his attorney’s as a result of Defendant’s

  harassing conduct.

     33. Plaintiff was unduly inconvenienced and harassed by Defendant’s unlawful attempts to

  collect the subject debt.

     34. Also, Defendant’s illegal conduct caused Plaintiff to make two payments of $105.00 under

  false pretense.

     35. Defendant’s phone harassment campaign caused Plaintiff actual harm, including but not

  limited to, invasion of privacy, nuisance, intrusion upon and occupation of Plaintiff’s cellular

  telephone capacity, wasting Plaintiff’s time, the increased risk of personal injury resulting from

  the distraction caused by the phone calls, aggravation that accompanies unsolicited telephone calls,

  emotional distress, mental anguish, anxiety, embarrassment, humiliation, loss of concentration,

  diminished value and utility of telephone equipment and telephone subscription services, the loss

  of battery charge, and the per-kilowatt electricity costs required to recharge his cellular telephone

  as a result of increased usage of his telephone services.

     36. In addition, each time Defendant placed a telephone call to Plaintiff, Defendant occupied

  Plaintiff’s telephone numbers such that Plaintiff was unable to receive other phone calls.


                                                   6
Case 1:19-cv-00347-DDD-STV Document 1 Filed 02/11/19 USDC Colorado Page 7 of 15




              COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

     37. Plaintiff restates and realleges paragraphs 1 through 36 as though fully set forth herein.

     38. Plaintiff is a “consumer” as defined by FDCPA §1692a(3).

     39. The alleged subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a

  transaction due or asserted to be owed or due to another for personal, family, or household

  purposes.

     40. Defendant is a “debt collector” as defined by §1692a(6) because its primary business

  purpose is the collection of delinquent debts and it regularly collects debts and uses the mail and/or

  telephones to collect delinquent accounts allegedly owed to a third party.

     41. Moreover, Defendant is a “debt collector” because it acquired rights to the subject debt

  after it was in default. 15 U.S.C. §1692a(6).

     42. Defendant used the telephone to attempt to collect the subject debt and, as such, engaged

  in “communications” as defined in FDCPA §1692a(2).

     43. Defendant’s communications to Plaintiff were made in connection with the collection of

  the subject debt.

     44. Defendant violated 15 U.S.C. §§1692b(2), b(3), c(a)(1), c(b), d, d(2), d(5), e, e(4), e(5),

  e(7), e(10), f, and g through its unlawful debt collection practices.

               a. Violations of FDCPA § 1692b

     45. Defendant violated §1692b(2) and b(3) by communicating with third-parties that have no

  connection to the subject debt. Specifically, Defendant called Plaintiff’s fiancé and Plaintiff’s

  fiancé’s daughter multiple times and disclosed personal and sensitive information about Plaintiff

  and the subject debt.


                                                    7
Case 1:19-cv-00347-DDD-STV Document 1 Filed 02/11/19 USDC Colorado Page 8 of 15




     46. Moreover, Defendant left Plaintiff’s fiancé’s daughter a voice mail message stating that it

  was going to serve Plaintiff with a lawsuit in connection to the subject debt.

     47. Defendant used such communications in order to humiliate Plaintiff into satisfying the

  subject debt.

                  b. Violations of FDCPA § 1692c

     48. Defendant violated §1692c(a)(1) when it continuously called Plaintiff after being notified

  to stop calling him. This repeated behavior of continuously and systematically calling Plaintiff’s

  cellular phone over and over after he demanded that it cease contacting him was harassing and

  abusive. Even after being told to stop contacting him, Defendant continued its onslaught of phone

  calls with the specific goal of oppressing and abusing Plaintiff into paying the subject debt.

     49. Furthermore, Defendant has relentlessly called Plaintiff on numerous occasions in the

  course of less than two months. This volume of calls shows that Defendant willfully ignored

  Plaintiff’s plea with the goal of annoying and harassing him into submission.

     50. On February 2, 2019, Defendant called Plaintiff 9 times within five minutes and as early

  as 7:20 a.m.

     51. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

  knew that its conduct was inconvenient, unwanted, and distressing to him.

     52. Furthermore, Defendant violated §1692c(b) by contacting Plaintiff fiancé and her daughter.

  Both parties had no connection to the subject debt. Therefore, Defendant was not permitted to

  disclose personal and sensitive information about Plaintiff and the subject debt.

                  c. Violations of FDCPA § 1692d




                                                   8
Case 1:19-cv-00347-DDD-STV Document 1 Filed 02/11/19 USDC Colorado Page 9 of 15




     53. Defendant violated §1692d by engaging in abusive, harassing, and oppressive conduct by

  relentlessly calling Plaintiff’s cellular phone seeking immediate payment on the subject debt.

  Moreover, Defendant continued placing the relentless calls after Plaintiff demanded that the calls

  cease.

     54. Defendant violated §1692d(2) by calling Plaintiff a ‘piece of shit,” when Plaintiff

  demanded that Defendant cease contacting him. Defendant used such profane language in order to

  insult Plaintiff and lower his self-esteem.

     55. Defendant violated §1692d(5) by causing Plaintiff’s cellular phone to ring repeatedly and

  continuously in an attempt to engage Plaintiff in conversations regarding the collection of the

  subject debt with the intent to annoy, abuse, or harass Plaintiff. Specifically, Defendant placed or

  caused to be placed numerous harassing phone calls to Plaintiff’s cellular telephone from

  December 2018 through the present day, using an automatic dialing system without his prior

  consent, with calls taking place several times in one day and on back to back days.

                 d. Violations of FDCPA § 1692e

     56. Defendant violated §1692e, e(4), e(5), e(7), and e(10) by using false, deceptive, and

  misleading representation in connection to the collection of the subject debt.

     57. Defendant falsely communicated to Plaintiff that if he did not satisfy the subject debt then

  Defendant would send a uniformed officer to Plaintiff’s home or place of employment to serve

  him with a lawsuit in connection to the subject debt.

     58. Defendant falsely threatened to file a criminal charge against Plaintiff. Specifically,

  Defendant falsely communicated to Plaintiff that it would file a criminal lawsuit against Plaintiff




                                                   9
Case 1:19-cv-00347-DDD-STV Document 1 Filed 02/11/19 USDC Colorado Page 10 of 15




   for “defrauding a financial institution.” Defendant attempted to deceive Plaintiff into believing he

   committed a criminal offense in order to induce payment on the subject debt.

                   e. Violations of FDCPA § 1692f

       59. Defendant violated §1692f by using unfair and unconscionable conduct in attempting to

   collect on the subject debt.

       60. Defendant unconscionably harassed Plaintiff with high volume phone calls and text

   messages. Defendant overwhelmed Plaintiff with phone calls and text messages in order to abuse

   Plaintiff into satisfying the subject debt.

       61. Furthermore, Defendant unfairly threatened to file a criminal lawsuit against Plaintiff and

   threatened to send a uniformed officer to serve Plaintiff.

       62. Moreover, Defendant unconscionably called Plaintiff a “piece of shit.” Defendant used

   such vulgar language in order to belittle Plaintiff and make him submit to paying the subject debt.

                   f. Violations of FDCPA § 1692g

       63. Defendant violated §1692g through its initial communication by failing to properly inform

   Plaintiff as to Plaintiff’s rights for debt verification in a manner which was not reasonably

   calculated to confuse or frustrate the least sophisticated consumer. Despite the foregoing,

   Defendant through its initial communication demanded payment of the subject debt from Plaintiff

   and failed to adequately send Plaintiff his right to dispute the validity of the subject debt within

   five days of the initial communication.

       64. As plead above, Plaintiff was severely harmed by Defendant’s harassing and

   unconscionable conduct.




                                                    10
Case 1:19-cv-00347-DDD-STV Document 1 Filed 02/11/19 USDC Colorado Page 11 of 15




      65. As an experienced debt collector, Defendant knew or should have known the ramifications

   of placing debt collection calls to Plaintiff after it was informed that such calls were harassing and

   not welcome.

      66. Upon information and belief, Defendant systematically places unsolicited and harassing

   debt collection calls to consumers in Colorado in order to aggressively collect debts in default to

   increase its profitability at the consumers’ expense.

      67. Upon information and belief, Defendant has no system in place to document and archive

   valid revocation of consent by consumers.

   WHEREFORE, Plaintiff PAUL M. GEORGOPULOS respectfully requests that this Honorable
   Court:
          a. Declare that the practices complained of herein are unlawful and violate the
              aforementioned statute;
          b. Enjoin Defendant from contacting Plaintiff;
          c. Award Plaintiff statutory and actual damages, in an amount to be determined at trial,
              for the underlying FDCPA violations;
          d. Award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
              §1692k; and
          e. Award any other relief as the Honorable Court deems just and proper.

               COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

      68. Plaintiff restates and realleges paragraphs 1 through 67 as though fully set forth herein.

      69. Defendant repeatedly placed or caused to be placed frequent non-emergency calls,

   including but not limited to the calls referenced above, to Plaintiff’s cellular telephone number

   using an automatic telephone dialing system (“ATDS”) without Plaintiff’s prior consent in

   violation of 47 U.S.C. §227 (b)(1)(A)(iii).



                                                    11
Case 1:19-cv-00347-DDD-STV Document 1 Filed 02/11/19 USDC Colorado Page 12 of 15




      70. The TCPA defines ATDS as “equipment which has the capacity...to store or produce

   telephone numbers to be called, using a random or sequential number generator; and to dial such

   numbers.” 47 U.S.C. §227(a)(1).

      71. Upon information and belief, based on Defendant’s lack of prompt human response during

   the phone calls in which Plaintiff answered, Defendant used an ATDS to place calls to Plaintiff’s

   cellular telephone.

      72. Upon information and belief, the ATDS employed by Defendant transfers the call to a live

   agent once a human voice is detected, thus resulting in a pause after the called party speaks into

   the phone.

      73. Defendant violated the TCPA by placing numerous phone calls to Plaintiff’s cellular phone

   between December 2018 and the present day, using an ATDS without his prior consent.

      74. Any prior consent, if any, was revoked by Plaintiff’s verbal revocations.

      75. As pled above, Plaintiff was severely harmed by Defendant’s collection calls to his cellular

   phone.

      76. Upon information and belief, Defendant has no system in place to document and archive

   whether it has consent to continue to contact consumers on their cellular phones.

      77. Upon information and belief, Defendant knew its collection practices were in violation of

   the TCPA, yet continued to employ them to increase profits at Plaintiff’s expense.

      78. Defendant, through its agents, representatives, vendors, third-party contactors,

   subsidiaries, and/or employees acting within the scope of their authority acted intentionally in

   violation of 47 U.S.C. §227(b)(1)(A)(iii).




                                                  12
Case 1:19-cv-00347-DDD-STV Document 1 Filed 02/11/19 USDC Colorado Page 13 of 15




      79. Pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff for a minimum of

   $500 per phone call. Moreover, pursuant to 47 U.S.C. §227(b)(3)(C), Defendant’s willful and

   knowing violations of the TCPA triggers this Honorable Court’s discretion to triple the damages

   to which Plaintiff is otherwise entitled to under 47 U.S.C. §227(b)(3)(C).




   WHEREFORE, Plaintiff PAUL M. GEORGOPULOS respectfully prays this Honorable Court
   for the following relief:
      a. Declare Defendant’s phone calls to Plaintiff to be violations of the TCPA;
      b. Award Plaintiff damages of at least $500 per phone call and treble damages pursuant to 47
          U.S.C. § 227(b)(3)(B)&(C); and
      c. Awarding Plaintiff costs and reasonable attorney fees;
      d. Enjoining Defendant from further contacting Plaintiff; and
      e. Awarding any other relief as this Honorable Court deems just and appropriate.

        COUNT III – VIOLATIONS OF THE COLORADO FAIR DEBT COLLECTION PRACTICES ACT

      80. Plaintiff restates and realleges paragraphs 1 through 79 as though fully set forth herein.

      81. Plaintiff is a ‘consumer” as defined by CO Rev. Stat. § 5-16-103(5).

      82. The alleged subject debt is a “debt” as defined by CO Rev. Stat. § 5-16-103(8)(a).

      83. Defendant is a “debt collector” as defined by CO Rev. Stat. § 5-16-103(9).

      84. Defendant used the telephone to attempt to collect the subject debt and, as such, engaged

   in “communications” as defined by CO Rev. Stat. § 5-16-103(4).




                                                   13
Case 1:19-cv-00347-DDD-STV Document 1 Filed 02/11/19 USDC Colorado Page 14 of 15




      85. Defendant’s communications to Plaintiff were made in connection with the collection of

   the subject debt.

                a. Violations of CO Rev. Stat. § 5-16-106

      86. Defendant violated § 5-16-106(1) by engaging in conduct with the natural consequence of

   which is to harass, oppress, or abuse Plaintiff in connection with the collection of the subject debt.

      87. Defendant’s repeated behavior of systematically calling Plaintiff’s cellular phone over and

   over after he notified it to stop calling and texting him. Even after being notified to stop calling

   and texting Plaintiff, Defendant continued its onslaught of phone calls with the specific goal of

   oppressing and abusing Plaintiff into paying the subject debt. Defendant has relentlessly called

   Plaintiff on numerous occasions. This volume of calls shows that Defendant willfully ignored

   Plaintiff’s notification with the goal of annoying and harassing Plaintiff.

      88. Furthermore, Defendant harassed Plaintiff by calling him a “piece of shit.” Defendant used

   such disgusting language in order to belittle Plaintiff and induce him into paying the subject debt.

      89. Defendant caused Plaintiff’s cellular phone to ring repeatedly and continuously in an

   attempt to engage Plaintiff in conversations regarding the collection of the subject debt with the

   intent to harass, oppress, or abuse Plaintiff. Defendant placed or caused to be placed numerous

   harassing phone calls to Plaintiff’s cellular phone using an automated telephone dialing system

   without Plaintiff’s consent.

      90. As pled above, Plaintiff was harmed by Defendant’s illegal conduct.

      91. As an experienced debt collector, Defendant knew or should have known the ramifications

   of placing debt collection calls to Plaintiff after it was informed to cease placing such calls.

   WHEREFORE, Plaintiff PAUL M. GEORGOPULOS respectfully requests that this Honorable
   Court:

                                                    14
Case 1:19-cv-00347-DDD-STV Document 1 Filed 02/11/19 USDC Colorado Page 15 of 15




          a. Declare that the practices complained of herein are unlawful and violate the
             aforementioned statute;
          b. Award Plaintiff statutory and actual damages, in an amount to be determined at trial,
             for the underlying CFDCPA violations;
          c. Award any other relief as the Honorable Court deems just and proper.


   Plaintiff demands trial by jury.


   Dated: February 11, 2019                           Respectfully Submitted,

   /s/ Marwan R. Daher                                /s/ Omar T. Sulaiman
   Marwan R. Daher, Esq.                              Omar T. Sulaiman, Esq.
   Counsel for Plaintiff                              Counsel for Plaintiff
   Sulaiman Law Group, Ltd.                           Sulaiman Law Group, Ltd.
   2500 South Highland Avenue, Suite 200              2500 South Highland Avenue, Suite 200
   Lombard, IL 60148                                  Lombard, IL 60148
   Telephone: (630) 537-1770                          Telephone: (630) 575-8141
   mdaher@sulaimanlaw.com                             osulaiman@sulaimanlaw.com




                                                 15
